      Case 6:20-cv-00486-ADA-DTG Document 85 Filed 04/19/21 Page 1 of 18




                      IN THE UNITED STATES DISTRICT COURT
                       FOR THE WESTERN DISTRICT OF TEXAS
                                 WACO DIVISION

 WSOU INVESTMENTS, LLC D/B/A                   CIVIL ACTION 6:20-CV-00473-ADA
 BRAZOS LICENSING AND                          CIVIL ACTION 6:20-CV-00474-ADA
 DEVELOPMENT,                                  CIVIL ACTION 6:20-CV-00475-ADA
                                               CIVIL ACTION 6:20-CV-00476-ADA
        Plaintiff,                             CIVIL ACTION 6:20-CV-00477-ADA
                                               CIVIL ACTION 6:20-CV-00478-ADA
 v.                                            CIVIL ACTION 6:20-CV-00479-ADA
                                               CIVIL ACTION 6:20-CV-00482-ADA
 DELL TECHNOLOGIES INC., DELL INC.,
 AND EMC CORPORATION,                          PATENT CASE

       Defendants.
                                               JURY TRIAL DEMANDED

 WSOU INVESTMENTS, LLC D/B/A                   CIVIL ACTION 6:20-CV-00480-ADA
 BRAZOS LICENSING AND                          CIVIL ACTION 6:20-CV-00481-ADA
 DEVELOPMENT,                                  CIVIL ACTION 6:20-CV-00485-ADA
                                               CIVIL ACTION 6:20-CV-00486-ADA
        Plaintiff,
                                               PATENT CASE
 v.

 DELL TECHNOLOGIES INC., DELL INC.,            JURY TRIAL DEMANDED
 EMC CORPORATION, AND VMWARE,
 INC.,

       Defendants.


                     JOINT CLAIM CONSTRUCTION STATEMENT

TO THE HONORABLE COURT:

       Pursuant to the scheduling orders in these cases, the Parties jointly submit this claim

construction statement.
     Case 6:20-cv-00486-ADA-DTG Document 85 Filed 04/19/21 Page 2 of 18




I.     GROUP 1: -480, -481, -485, AND -486 CASES

       A.     -480 Case, U.S. Patent No. 7,539,133

                        -480 Case, U.S. Patent No. 7,539,133 (Disputed)
 Claim Term/Phrase               Plaintiff’s Construction       Defendants’ Construction
 “whether a congestion           Plain and ordinary meaning     “whether the egress node is
 condition exists [on/for] the                                  currently congested”
 egress node” (Claims 1, 12,
 and 13)

 (Proposed by Defendants)

                        -480 Case, U.S. Patent No. 7,539,133 (Disputed)
 Claim Term/Phrase               Plaintiff’s Construction       Defendants’ Construction
 “processing the packets”        Plain and ordinary meaning     “modifying, at the ingress
 (Claims 1, 12, and 13)                                         node, the queuing priority of
                                                                packets destined for the egress
 (Proposed by Defendants)                                       node”

                         -480 Case, U.S. Patent No. 7,539,133 (Disputed)
 Claim Term/Phrase                Plaintiff’s Construction       Defendants’ Construction
 “such that packets associated Plain and ordinary meaning        “such that packets are marked
 with egress nodes for which                                     depending on whether they are
 the congestion condition does                                   destined for a congested
 not exist have a different                                      egress node, such that marked
 queuing priority within the                                     packets have a different
 load balancing network than                                     probability of being dropped”
 packets associated with
 egress nodes for which the
 congestion condition exists”
 (Claims 1, 12, and 13)

 (Proposed by Defendants)

        -480 Case, U.S. Patent No. 7,539,133 (Agreed Function; Disputed Structure)
 Claim Term/Phrase              Plaintiff’s Construction       Defendants’ Construction
 “means for determining, for    This term is subject to 35 This term is subject to 35
 each packet, whether a         U.S.C. § 112, ¶ 6              U.S.C. § 112, ¶ 6
 congestion condition exists    Function: determining, for Function: determining, for
 on the egress node” (Claim     each packet, whether a each packet, whether a
 12) (Claims 1, 12, and 13)     congestion condition exists on congestion condition exists on
                                the egress node                the egress node
 (Proposed by both Parties)
                                                               Structure: Indefinite



                                               2
    Case 6:20-cv-00486-ADA-DTG Document 85 Filed 04/19/21 Page 3 of 18




                               Structure:     processor 210
                               performing operations at ’133
                               patent, 5:11-20

        -480 Case, U.S. Patent No. 7,539,133 (Agreed Function; Disputed Structure)
Claim Term/Phrase               Plaintiff’s Construction      Defendants’ Construction
“means for processing the       This term is subject to 35    This term is subject to 35
packets such that packets       U.S.C. § 112, ¶ 6.            U.S.C. § 112, ¶ 6.
associated with egress nodes    Function: processing the      Function: processing the
for which the congestion        packets such that packets     packets such that packets
condition does not exist have associated with egress nodes    associated with egress nodes
a different queuing priority    for which the congestion      for which the congestion
within the load-balancing       condition does not exist have condition does not exist have
network than packets            a different queuing priority  a different queuing priority
associated with egress nodes    within the load-balancing     within the load-balancing
for which the congestion        network than packets          network than packets
condition exists” (Claim 12)    associated with egress nodes  associated with egress nodes
                                for which the congestion      for which the congestion
(Proposed by both Parties)      condition exists              condition exists

                               Structure: processor 210        Structure: processor 210
                               which marks packets in a        which marks the packets such
                               manner that differentiates      that marked packets have a
                               queuing priority based on       different probability of being
                               whether the packets are         dropped     than     unmarked
                               associated with egress nodes    packets
                               for which the congestion
                               condition exists

      B.     -481 Case, U.S. Patent No. 9,164,800

                      -481 Case, U.S. Patent No. 9,164,800 (Disputed)
Claim Term/Phrase              Plaintiff’s Construction       Defendants’ Construction
“latency cost” (Claims 1, 13) Plain and ordinary meaning      “communication         delay
                                                              between a compute node and a
(Proposed by Defendants)                                      data node”

                      -481 Case, U.S. Patent No. 9,164,800 (Disputed)
Claim Term/Phrase              Plaintiff’s Construction       Defendants’ Construction
“[determining/determine] an    Plain and ordinary meaning     “select[ing] one of a plurality
assignment objective”                                         of assignment objectives”
(Claims 1, 13)

(Proposed by Defendants)




                                             3
    Case 6:20-cv-00486-ADA-DTG Document 85 Filed 04/19/21 Page 4 of 18




      C.     -485 Case, U.S. Patent No. 7,636,309

                         -485 Case, U.S. Patent No. 7,636,309 (Agreed)
Claim Term/Phrase                Agreed Construction
“split ratio vector” (Claims 1, “the proportion of the flow routed in each path”
11, and 16)

(Proposed by Defendants)

      D.     -486 Case, U.S. Patent No. 7,092,360

                       -486 Case, U.S. Patent No. 7,092,360 (Disputed)
Claim Term/Phrase               Plaintiff’s Construction       Defendants’ Construction
“said element comprises: an Plain and ordinary meaning         “said element includes all of:
element for recording whether                                  an element for recording
a queue is empty or occupied,                                  whether a queue is empty or
an element for recording the                                   occupied, an element for
[number of data cells/quantity                                 recording the quantity of data
of data] contained in a queue,                                 contained in a queue, an
an element identifying a queue                                 element identifying a queue
from which data is to be                                       from which data is to be
output, and an element                                         output, and an element
identifying a group of queues                                  identifying a group of queues
from which data is to be                                       from which data is to be
output” (Claims 1 and 26)                                      output”

(Proposed by Defendants)

                       -486 Case, U.S. Patent No. 7,092,360 (Disputed)
Claim Term/Phrase               Plaintiff’s Construction       Defendants’ Construction
“expected state for said Plain and ordinary meaning            “a [state/value] for the
element”;      “predetermined                                  [element/parameter]    that
state for said element”;                                       would be expected if the
“expected value of said                                        scheduler is functioning
parameter”; “expected states                                   properly”
for that element”; “expected
status for said element”;
“expected state of said first
element” (Claims 1, 3, 12, 13,
18, 21, 24, 26, 28, 29, 48, and
49)

(Proposed by Defendants)




                                              4
        Case 6:20-cv-00486-ADA-DTG Document 85 Filed 04/19/21 Page 5 of 18




                          -486 Case, U.S. Patent No. 7,092,360 (Disputed)
    Claim Term/Phrase              Plaintiff’s Construction       Defendants’ Construction
    “computer generated model” Plain and ordinary meaning         “a simulated computer model
    (Claims 1, 18, 21, 26, 44, and                                of circuitry describing a
    45)                                                           scheduler”

    (Proposed by Defendants)

            -486 Case, U.S. Patent No. 7,092,360 (Agreed Function; Disputed Structure)
    Claim Term/Phrase               Plaintiff’s Construction       Defendants’ Construction
    “detection means for detecting This term is subject to 35      This term is subject to 35
    a state of an element” (Claims U.S.C. § 112, ¶ 6               U.S.C. § 112, ¶ 6
               1
    1 and 18)                       Function: detecting a state of Function: detecting a state of
                                    an element                     an element
    (Proposed by Defendants)
                                    Structure: module 110, 112, Structure: modules 110, 112,
                                    114, 115, 118, 120, 122, 124, 114 . . . to 130 using a
                                    126, 128, or 130               programming           language
                                                                   interface (PLI) as described in
                                                                   ’360 patent, 12:11–41


           -486 Case, U.S. Patent No. 7,092,360 (Agreed Function; Disputed Structure)
    Claim Term/Phrase              Plaintiff’s Construction     Defendants’ Construction
    “comparing      means      for This term is subject to 35   This term is subject to 35
    comparing the detected state U.S.C. § 112, ¶ 6              U.S.C. § 112, ¶ 6
    with a predetermined state for Function: comparing the Function: comparing the
    said    element    and     for detected     state    with a detected    state     with a
    outputting the result of the predetermined state for said predetermined state for said
    comparison” (Claim 1)2

1
  Defendants briefed this term as representative of the following terms that are materially the
same: “means for requesting said scheduler model to pass the status of said element to said
monitor” (claim 1); “monitoring means for monitoring a parameter relating to the operation of said
scheduler” (claim 3); and “means for detecting the state of at least one element of said scheduler
whose state depends on which queue is selected by said scheduler for outputting a test cell” (claim
24). E.g., No. 6:20-cv-00480, D.I. 82 at 8 n.5. WSOU never disputed in either of its briefs the
representativeness of the term. Id., D.I. 80 at 6–8; Id., D.I. 83 at 5–6.
2
  Defendants briefed this term as representative of claim 24, which recites materially the same
limitation as claim 1: “a monitor having . . . comparison means for at least one of: comparing the
detected element status with an expected status for said element based on the detected queue
identity and comparing the detected queue identity with an expected queue identity based on the
detected status of said element.” Defendants likewise briefed this term as representative of the
following: “comparison means for comparing the detected parameter with said expected



                                                  5
      Case 6:20-cv-00486-ADA-DTG Document 85 Filed 04/19/21 Page 6 of 18




                                   element and for outputting the element and for outputting the
 (Proposed by Defendants)          result of the comparison       result of the comparison

                                   Structure: rule checker 132       Structure: Indefinite


         -486 Case, U.S. Patent No. 7,092,360 (Agreed Function; Disputed Structure)
 Claim Term/Phrase               Plaintiff’s Construction     Defendants’ Construction
 “determining     means     for This term is subject to 35    This term is subject to 35
 determining an expected value U.S.C. § 112, ¶ 6              U.S.C. § 112, ¶ 6
 of said parameter” (Claim 18) Function: determining an Function: determining an
                                 expected value of said expected value of said
 (Proposed by Defendants)        parameter                    parameter

                                   Structure:        operation(s) Structure: Indefinite
                                   which apply one or more rules
                                   interrelating “the detected”
                                   state and the “expected
                                   value,” as explained, for
                                   example, at 6:34-37, 6:45-58,
                                   and 9:12-11:60

                       -486 Case, U.S. Patent No. 7,092,360 (Disputed)
 Claim Term/Phrase               Plaintiff’s Construction      Defendants’ Construction
 “element     for    recording No construction required apart This term is subject to 35
 whether a queue is empty or from finding this term is not U.S.C. § 112, ¶ 6
 occupied” (claims 1, 5, 6, 7–9, subject to 35 U.S.C. § 112, ¶
 14–15, 20, 25, 26, 30, 33–35, 6. Alternatively, if deemed Function: recording whether
 and 38)                         subject to 35 U.S.C. § 112, ¶ a queue is empty or occupied
                                 6, then,
 (Proposed by Defendants)        Function: recording whether Structure: queue status
                                 a queue is empty or occupied. register 165, 167, 201, or 203

                                   Structure:       data storage
                                   within a scheduler, such as,
                                   for example, queue status
                                   register 165, 167, 201, or 203

                        -486 Case, U.S. Patent No. 7,092,360 (Disputed)


parameter and for outputting the result of the comparison” (claim 18); and “means for detecting
the state of an element of said scheduler at a plurality of different times and comparing the detected
states with expected states and outputting the result of said comparison” (claim 21). E.g., No.
6:20-cv-00480, D.I. 82 at 12 n.9. WSOU never disputed in either of its briefs the
representativeness of the term. Id., D.I. 80, 8–10; Id., D.I. 83 at 6–7.



                                                  6
         Case 6:20-cv-00486-ADA-DTG Document 85 Filed 04/19/21 Page 7 of 18




    Claim Term/Phrase                  Plaintiff’s Construction         Defendants’ Construction
    “an element for recording the      No construction required apart   This term is subject to 35
    [number          of       [data]   from finding this term is not    U.S.C. § 112, ¶ 6
    cells/quantity      of     data]   subject to 35 U.S.C. § 112, ¶
    contained in a queue” (claims      6. Alternatively, if deemed      Function: recording the
    1, 9, 20, 26, 30, and 383)4        subject to 35 U.S.C. § 112, ¶    [quantity of data/number of
                                       6, then,                         data cells] contained in a
    (Proposed by Defendants)           Function: recording the          queue
                                       [quantity of data / number of
                                       cells / number of data cells]    Structure: counter 169, 205,
                                       contained in a queue;            or 207

                                       Structure:     data    storage
                                       within a scheduler, such as,
                                       for example, counter 169, 205,
                                       or 207

                          -486 Case, U.S. Patent No. 7,092,360 (Disputed)
    Claim Term/Phrase              Plaintiff’s Construction       Defendants’ Construction
    “an element identifying a No construction required apart This term is subject to 35
    queue from which data is to be from finding this term is not U.S.C. § 112, ¶ 6
    output” (claims 1 and 265)6    subject to 35 U.S.C. § 112, ¶
                                   6. Alternatively, if deemed

3
  Defendants briefed this term as representative for claims 1, 5, 6, 7–9, 14–15, 20, 25, 26, 30, 33–
35, and 38. E.g., No. 6:20-cv-00480, D.I. 82 at 17; Id., D.I. 86 at 9. WSOU never disputed in
either of its briefs that each claim recites materially the same term, but requested that claims 5–6,
1415, and 33–35 be deleted from this Joint Claim Construction Statement. Id., D.I. 80 at 14; Id.,
D.I. 83 at 10–11. WSOU argues for the first time that Defendants “improperly conflate these
expressly distinct terms into one,” but offers no explanation at all.
4
 As explained in WSOU’s opening brief, and reiterated in its reply brief, WSOU objects to the
inclusion of these additional and distinct terms because Dell offers these additional terms for
construction in excess of the Court’s Order limiting the total number of disputed terms to no more
than thirty-six across all cases. Br. 13, 15; Reply at 10. WSOU further objects to Dell’s attempt
to improperly conflate these expressly distinct terms into one. Id.
5
  Defendants briefed this term as representative for claims 1, 26, 5, 20, and 30. E.g., No. 6:20-cv-
00480, D.I. 82 at 18; Id., D.I. 86 at 9. WSOU never disputed in either of its briefs that each claim
recites materially the same term, but requested that claims 5, 20, and 30 be deleted from this Joint
Claim Construction Statement. Id., D.I. 80 at 15; Id., D.I. 83 at 11. WSOU argues for the first
time that Defendants “improperly conflate these expressly distinct terms into one,” but offers no
explanation at all.
6
 WSOU raises the same objections for these terms, which Dell neglected to separately count
against the total limit, as set forth in note 1, supra.



                                                     7
        Case 6:20-cv-00486-ADA-DTG Document 85 Filed 04/19/21 Page 8 of 18




    (Proposed by Defendants)       subject to 35 U.S.C. § 112, ¶    Function: identifying a
                                   6, then,                         queue from which data is to
                                   Function: identifying a queue    be output
                                   from which data is to be
                                   output                         Structure: pointer 177, 179,
                                                                  181, 183, 209, 211, 213, or
                                   Structure:      data storage 215
                                   within a scheduler, such as,
                                   for example, pointer 177, 179,
                                   181, 183, 209, 211, 213, or
                                   215

                            -486 Case, U.S. Patent No. 7,092,360 (Disputed)
    Claim Term/Phrase                Plaintiff’s Construction       Defendants’ Construction
    “an element indicating a         No construction required apart This term is subject to 35
    group of queues from which       from finding this term is not U.S.C. § 112, ¶ 6
    data is to be output” (claims    subject to 35 U.S.C. § 112, ¶
        7 8
    126 )                            6. Alternatively, if deemed Function:
                                     subject to 35 U.S.C. § 112, ¶ [identifying/indicating] a
    (Proposed by Defendants)         6, then,                       group of queues, from which
                                     Function: identifying a queue data is to be output
                                     from which data is to be
                                     output                         Structure: Indefinite

                                   Structure:   priority selector
                                   173 or 208




7
  Defendants briefed the term “an element [identifying/indicating] a group of queues from which
data is to be output” as representative for claims 1, 5, 9, 14–15, 20, 26, 30, 33, 35, and 38. E.g.,
No. 6:20-cv-00480, D.I. 82 at 19; Id., D.I. 86 at 10. WSOU never disputed in either of its briefs
that each claim recites materially the same term, but requested that claims 5, 9, 14–15, 20, 30, 33,
35, and 38 be deleted from this Joint Claim Construction Statement. Id., D.I. 80 at 15–16; Id., D.I.
83 at 11–13. WSOU argues for the first time that Defendants “improperly conflate these expressly
distinct terms into one,” but offers no explanation at all.
8
  WSOU raises the same objections for these terms, which Dell neglected to separately count
against the total limit, as set forth in note 1, supra. WSOU further objects to Dell’s belated
argument, raised for the first time in its reply brief, that the scope of the dispute should also
encompass distinct phrases of other claims which do not recite “an element identifying.”




                                                 8
      Case 6:20-cv-00486-ADA-DTG Document 85 Filed 04/19/21 Page 9 of 18




II.    GROUP 2: -473 AND -478 CASES

       A.     -473 Case, U.S. Patent No. 9,137,144

                         -473 Case, U.S. Patent No. 9,137,144 (Disputed)
 Claim Term/Phrase                Plaintiff’s Construction       Defendants’ Construction
 “group of communication          Plain and ordinary meaning     “traffic in a VLAN or other
 traffic” (claims 1, 4, 11, 12,                                  identifiable communications
 14)                                                             group”

 (Proposed by Defendants)

                        -473 Case, U.S. Patent No. 9,137,144 (Disputed)
 Claim Term/Phrase               Plaintiff’s Construction       Defendants’ Construction
 “V is a group identifier        Plain and ordinary meaning     Plain and ordinary meaning;
 corresponding to the group of                                  but the group identifier cannot
 communication traffic”                                         be a hash value based on
 (claims 1, 11, 14)                                             packet fields such as source
                                                                address     and     destination
 (Proposed by Defendants)                                       address

       B.     -478 Case, U.S. Patent No. 7,126,921

                        -478 Case, U.S. Patent No. 7,126,921 (Disputed)
 Claim Term/Phrase               Plaintiff’s Construction       Defendants’ Construction
 “fast propagation” (claims 1, Plain and ordinary meaning       Indefinite
 9, & 17)
                                                                In the alternative this means
 (Proposed by Defendants)                                       “much faster than using the
                                                                computing means, e.g. by
                                                                using OSPF routing protocol”

                      -478 Case, U.S. Patent No. 7,126,921 (Disputed)
 Claim Term/Phrase             Plaintiff’s Construction       Defendants’ Construction
 “data plane means for Subject to means-plus-function This term is subject to 35
 forwarding packets between construction.                     U.S.C. § 112, ¶ 6.
 the nodes” (claim 1) / “data
 plane means for forwarding Claim 1                           Claim 1
 packets to other nodes in the Function:   forwarding packets Function: forwarding packets
 network” (claims 9 & 17)      between the nodes              between the nodes
                               Structure:     4:44-60   (link Structure: Data plane 202
 (Proposed by both Parties)    interface 216 and switching (distinct from the computing
                               fabric 214); and equivalent means) including switching
                               structures                     fabric 214 and link interface
                                                              216; and equivalent
                               Claim 9 & 17                   structures


                                               9
    Case 6:20-cv-00486-ADA-DTG Document 85 Filed 04/19/21 Page 10 of 18




                                Function: forwarding packets
                                to other nodes in the network      Claim 9 & 17
                                Structure:     4:44-60     (link   Function: forwarding packets
                                interface 216 and switching        to other nodes in the network
                                fabric 214); and equivalent        Structure: Data plane 202
                                structures                         (distinct from the computing
                                                                   means) including switching
                                                                   fabric 214 and link interface
                                                                   216; and equivalent structures


                       -478 Case, U.S. Patent No. 7,126,921 (Agreed)
Claim Term/Phrase              Agreed Construction
“computing means for control Subject to means-plus-function construction.
of the nodes” (Claim 1)
                               Function (Claim 1): control of the nodes
“computing means for
controlling the node” (Claims Function (Claims 9 & 17): controlling the node
9 & 17)
                               Structure (Claims 1, 9, & 17): CPU 206; and equivalent
(Proposed by both Parties)     structures

                       -478 Case, U.S. Patent No. 7,126,921 (Agreed)
Claim Term/Phrase              Agreed Construction
“means for fast propagation    Subject to means-plus-function construction.
of node related information
between the data plane means Function (Claim 1): fast propagation of node related
in each node and forwarding    information between the data plane means in each node and
the information to the         forwarding the information to the computing means in the
computing means in the         network
network” (Claim 1)
                               Function (Claims 9 & 17): fast propagation of node related
“means for fast propagation    information to and from the data plane means in other nodes in
of node related information to the network and forwarding the information to the computing
and from the data plane        means
means in other nodes in the
network and forwarding the     Structure (Claims 1, 9, & 17): 3:19-52 (switching fabric 214
information to the computing and link interface 216; wherein the link interface comprises a
means” (Claims 9 & 17)         fast link state processor (FSLP) 218 and a link failure database
                               (LFDB) structure 228), 4:1-4, 7:18-20 (forwarding to CPU over
(Proposed by both Parties)     link 236); and equivalent structures

                        -478 Case, U.S. Patent No. 7,126,921 (Agreed)
Claim Term/Phrase               Agreed Construction
“means for fast propagation     Subject to means-plus-function construction.
of link state information”


                                              10
       Case 6:20-cv-00486-ADA-DTG Document 85 Filed 04/19/21 Page 11 of 18




 (Claims 1, 9 & 17)              Function: fast propagation of link state information

 (Proposed by Defendants)        Structure: 7:60-8:3 (Fast Link State Processor (FLSP) 218,
                                 Fabric Interface 226 and Switch Fabric 214 structure), 8:21-27;
                                 and equivalent structures

                         -478 Case, U.S. Patent No. 7,126,921 (Agreed)
 Claim Term/Phrase               Agreed Construction
 “the data, plane means”         “the data plane means”
 (Claim 9)
 (Proposed by Plaintiff)

III.    GROUP 3: -477 AND -482 CASES

        A.    -477 Case, U.S. Patent No. 8,913,489

                          -477 Case, U.S. Patent No. 8,913,489 (Disputed)
 Claim Term/Phrase                 Plaintiff’s Construction       Defendants’ Construction
 “the first set of port interfaces Plain and ordinary meaning     Indefinite
 of the multi-chassis link
 aggregate” (claims 1, 8, 15)

 (Proposed by Defendants)

        B.    -482 Case, U.S. Patent No. 7,424,020

                        -482 Case, U.S. Patent No. 7,424,020 (Disputed)
 Claim Term/Phrase               Plaintiff’s Construction       Defendants’ Construction
 “removing, at the network       Plain and ordinary meaning     Indefinite
 node, the protocol data of a
 portion of protocol layers
 from the received data
 stream” (claim 1) / “removes
 protocol data from a portion
 of protocol layers from a data
 stream” (claim 6)

 (Proposed by Defendants)

                        -482 Case, U.S. Patent No. 7,424,020 (Disputed)
 Claim Term/Phrase               Plaintiff’s Construction       Defendants’ Construction
 “a control unit which           Plain and ordinary meaning; Indefinite.
 removes protocol data from a not indefinite under IPXL
 portion of protocol layers                                     In the alternative: this term is
 from a data stream received                                    subject to 35 U.S.C. § 112, ¶
 from the communication                                         6.



                                               11
      Case 6:20-cv-00486-ADA-DTG Document 85 Filed 04/19/21 Page 12 of 18




 network via the second
 interface, the data stream                                     Function: [1] removes
 comprising useful data and                                     protocol data from a portion
 the protocol data, and                                         of protocol layers from a data
 switches a remaining data                                      stream received from the
 stream to be transmitted to                                    communication network via
 one of the terminals via the                                   the second interface, the data
 first interface” (claim 6)                                     stream comprising useful data
                                                                and the protocol data, and [2]
 (Proposed by Defendants)                                       switches a remaining data
                                                                stream to be transmitted to
                                                                one of the terminals via the
                                                                first interface
                                                                Structure:      control    unit
                                                                CONTR executing function
                                                                PHN, containing processes P1
                                                                to P3 and function SW; and
                                                                equivalent structures

                      -482 Case, U.S. Patent No. 7,424,020 (Disputed)
 Claim Term/Phrase             Plaintiff’s Construction       Defendants’ Construction
 “bus system” (claims 1 and 6) Plain and ordinary meaning     “a network that does not
                                                              include       any       active
 (Proposed by Defendants)                                     components such as switching
                                                              nodes, gateways, routers, or
                                                              bridges, wherein all nodes are
                                                              connected to a single wire”

IV.    GROUP 4: -474, 475, -476, AND -479 CASES

       A.      -474 Case, U.S. Patent No. 7,212,536

                       -474 Case, U.S. Patent No. 7,212,536 (Disputed)
 Claim Term/Phrase              Plaintiff’s Construction       Defendants’ Construction
 “bridge” (claims 1, 12)        Plain and ordinary meaning     “a network interface device
                                                               that operates no higher than
 (Proposed by Defendants)                                      the data link layer”

                       -474 Case, U.S. Patent No. 7,212,536 (Disputed)
 Claim Term/Phrase              Plaintiff’s Construction       Defendants’ Construction
 “channel in a connection       Plain and ordinary meaning     “one of the paths that has been
 based network” (claims 1, 12)                                 established in a network for
                                                               communications”
 (Proposed by Defendants)




                                              12
    Case 6:20-cv-00486-ADA-DTG Document 85 Filed 04/19/21 Page 13 of 18




                        -474 Case, U.S. Patent No. 7,212,536 (Disputed)
Claim Term/Phrase                Plaintiff’s Construction       Defendants’ Construction
“forwarding system               Plain and ordinary meaning     This term is subject to 35
configured to read a priority                                   U.S.C. § 112, ¶ 6.
of a data frame to be
forwarded onto the                                              Function: read a priority of a
connection-based network by                                     data frame to be forwarded
way of the first one of the                                     onto the connection-based
ports, identify a service                                       network by way of the first
interface which the map                                         one of the ports, identify a
indicates corresponds to the                                    service interface which the
read user priority and forward                                  map indicates corresponds to
the data frame over the                                         the read user priority and
channel in the connection-                                      forward the data frame over
based network associated                                        the channel in the connection-
with the identified service                                     based network associated with
interface” (claim 1)                                            the identified service interface

(Proposed by Defendants)                                            Structure: Indefinite

                         -474 Case, U.S. Patent No. 7,212,536 (Disputed)
Claim Term/Phrase                 Plaintiff’s Construction          Defendants’ Construction
“means for reading priorities Subject         to      means-plus- This term is subject to 35
of data frames directed by the function construction.               U.S.C. § 112, ¶ 6.
bridge to at least a first one of
the bridge ports” (claim 12)      Function: reading priorities Function: reading priorities
                                  of data frames directed by the of data frames directed by the
(Proposed by both Parties)        bridge to at least a first one of bridge to at least a first one of
                                  the bridge ports                  the bridge ports

                                  Structure:     bridge,    with Structure: Indefinite
                                  bridging system and bridge
                                  port, and equivalents thereof

                                  Algorithm (if required): see
                                  e.g., 4:26-37, 5:40-55, 6:4-14,
                                  6:15-42, 7:23-44, 8:21-28,
                                  Figs. 1, 2, 4, 5A-I, 6, and
                                  equivalents thereof.


      B.      -475 Case, U.S. Patent No. 7,453,888

                  -475 Case, U.S. Patent No. 7,453,888 (Disputed)
Claim Term/Phrase          Plaintiff’s Construction       Defendants’ Construction



                                                 13
    Case 6:20-cv-00486-ADA-DTG Document 85 Filed 04/19/21 Page 14 of 18




“stackable trunk port”          Plain and ordinary meaning      “trunk port supporting the
(Claims 1, 8, 9, 10, 11–13,                                     Riverstone solution (i.e. the
15, 19, 20)                                                     additional extension 802.1Q
                                                                packet header)”
(Proposed by Defendants)

                      -475 Case, U.S. Patent No. 7,453,888 (Disputed)
Claim Term/Phrase              Plaintiff’s Construction       Defendants’ Construction
“backbone VLAN trunk”          Plain and ordinary meaning     “data transport trunk links
(Claims 1, 5–7, 12, 15–20)                                    defined between stackable
                                                              trunk ports on core routers”
(Proposed by Defendants)

                        -475 Case, U.S. Patent No. 7,453,888 (Disputed)
Claim Term/Phrase                Plaintiff’s Construction       Defendants’ Construction
“wherein the selection and       Plain and ordinary meaning     “wherein the provisioning
association of at least one                                     method        ignores       the
backbone VLAN ID with                                           designation of a backbone
each one of the corresponding                                   VLAN trunk as in-use or
plurality of backbone VLAN                                      stand-by when associating the
trunks is undertaken                                            backbone VLAN ID with the
irrespective of one of an in-                                   backbone VLAN trunks (as
use and a stand-by                                              opposed to, during association
designation of each one of the                                  of VLANs with trunks,
plurality of backbone VLAN                                      explicitly          designating
trunks and each one of the                                      physical VLANs associated
plurality of stackable trunk                                    with a logical VLAN as in-use
ports” (claim 1) / “wherein                                     and explicitly designating
the association of the                                          other      physical    VLANs
plurality of backbone VLAN                                      associated with the logical
IDs with the backbone VLAN                                      VLAN as back-up)”
trunk is undertaken
irrespective of one of an in-
use and a stand-by
designation of the backbone
VLAN trunk and the at least
one stackable trunk port”
(claim 15)

(Proposed by Defendants)

      C.     -476 Case, U.S. Patent No. 7,565,435

                      -476 Case, U.S. Patent No. 7,565,435 (Disputed)
Claim Term/Phrase              Plaintiff’s Construction       Defendants’ Construction



                                              14
    Case 6:20-cv-00486-ADA-DTG Document 85 Filed 04/19/21 Page 15 of 18




“setting the IPPC of one of     Plain and ordinary meaning       order of steps
the ports of one of said                                         The setting of the IPPC to a
bridges within the MSTI to a                                     lower IPPC must occur after
lower IPPC when said port is                                     the creation and configuration
part of the VLAN member                                          of the Multiple Spanning Tree
set” (claims 1, 8, 13)                                           Instances step and after the
                                                                 creation of the VLAN member
(Proposed by Defendants)                                         sets step

                       -476 Case, U.S. Patent No. 7,565,435 (Disputed)
Claim Term/Phrase               Plaintiff’s Construction       Defendants’ Construction
“ideally” (claims 7, 11, 18)    Plain and ordinary meaning     Indefinite


(Proposed by Defendants)

                         -476 Case, U.S. Patent No. 7,565,435 (Disputed)
Claim Term/Phrase                 Plaintiff’s Construction       Defendants’ Construction
“processing unit for setting      Plain and ordinary meaning     This is subject to 35 U.S.C. §
the Internal Port Path Cost                                      112, ¶ 6.
(IPPC) of one of the ports of
one of said bridges within the                                   Function: setting the Internal
MSTI to a high IPPC when                                         Port Path Cost (IPPC) of one
said port is not part of the                                     of the ports of one of said
VLAN member set” (claim 8)                                       bridges within the MSTI [to a
/ “processing unit for setting                                   high IPPC when said port is
the IPPC of one of the ports                                     not part of the VLAN
of one of said bridges within                                    member set / to a lower IPPC
the MSTI to a lower IPPC                                         when said port is part of the
when said port is part of the                                    VLAN member set]
VLAN member set” (claim 8)
                                                                 Structure: Indefinite
(Proposed by Defendants)

                      -476 Case, U.S. Patent No. 7,565,435 (Disputed)
Claim Term/Phrase              Plaintiff’s Construction       Defendants’ Construction
Entirety of claims 9–11 and    Plain and ordinary meaning     Indefinite
13–18

(Proposed by Defendants)

      D.     -479 Case, U.S. Patent No. 8,402,129

                  -479 Case, U.S. Patent No. 8,402,129 (Disputed)
Claim Term/Phrase          Plaintiff’s Construction       Defendants’ Construction



                                              15
        Case 6:20-cv-00486-ADA-DTG Document 85 Filed 04/19/21 Page 16 of 18




    “rate of change” (claim 3)      Plain and ordinary meaning      Plain and ordinary meaning;
                                                                    not an instantaneous value
    (Proposed by Defendants)                                        measured at a fixed point in
                                                                    time

                             -479 Case, U.S. Patent No. 8,402,129 (Disputed)
    Claim Term/Phrase                 Plaintiff’s Construction       Defendants’ Construction
    “initiating a poll of resources Plain and ordinary meaning       Both of these events trigger a
    in the nodes of the network                                      poll9
    by the management station in
    response to reporting from
    the node or a time interval
    being exceeded” (claim 3)

    (Proposed by Defendants)

Dated: April 19, 2021




9
  As stated in Defendants’ briefing, Defendants are amenable to replacing “trigger” with “initiate.”
D.I. 85 at 38 n.25. In addition, Defendants would be satisfied with a construction that
“management station” means “a management station that is capable of initiating a poll in response
to both reporting from the node and a time interval being exceeded.” D.I. 90 at 19 n.16.



                                                  16
    Case 6:20-cv-00486-ADA-DTG Document 85 Filed 04/19/21 Page 17 of 18




By: /s/ Mark D. Siegmund                         By: /s/ Jaysen S. Chung
    James L. Etheridge                               Barry K. Shelton
    James L. Etheridge                               Texas State Bar No. 24055029
    Texas State Bar No. 24059147                     bshelton@sheltoncoburn.com
    Ryan S. Loveless                                 SHELTON COBURN LLP
    Texas State Bar No. 24036997                     311 RR 620, Suite 205
    Travis L. Richins                                Austin, TX 78734-4775
    Texas State Bar No. 24061296                     Telephone: 512.263.2165
                                                     Facsimile: 512.263.2166
     ETHERIDGE LAW GROUP, PLLC
     2600 E. Southlake Blvd., Suite 120 / 324        Benjamin Hershkowitz
     Southlake, Texas 76092                          bhershkowitz@gibsondunn.com
     Telephone: (817) 470-7249                       Brian A. Rosenthal
     Facsimile: (817) 887-5950                       brosenthal@gibsondunn.com
     Jim@EtheridgeLaw.com                            Allen Kathir
     Ryan@EtheridgeLaw.com                           akathir@gibsondunn.com
     Travis@EtheridgeLaw.com                         Kyanna Sabanoglu
                                                     ksabanoglu@gibsondunn.com
     Mark D. Siegmund                                GIBSON, DUNN & CRUTCHER LLP
     State Bar No. 24117055                          200 Park Avenue
     mark@waltfairpllc.com                           New York, NY 10166-0193
     Law Firm of Walt, Fair PLLC.                    Telephone: 212.351.4000
     1508 North Valley Mills Drive                   Facsimile: 212.351.4035
     Waco, Texas 76710
     Telephone: (254) 772-6400                       Y. Ernest Hsin
     Facsimile: (254) 772-6432                       ehsin@gibsondunn.com
                                                     Jaysen S. Chung
     Attorneys for Plaintiff                         jschung@gibsondunn.com
                                                     GIBSON, DUNN & CRUTCHER LLP
                                                     555 Mission Street, Suite 3000
                                                     San Francisco, CA 94105-0921
                                                     Telephone: 415.393.8200
                                                     Facsimile: 415.393.8306

                                                     Ryan K. Iwahashi
                                                     riwahashi@gibsondunn.com
                                                     GIBSON, DUNN & CRUTCHER LLP
                                                     1881 Page Mill Road
                                                     Palo Alto, CA 94304-1211
                                                     Telephone: 650.849.5300
                                                     Facsimile: 650.849.5333

                                                     Attorneys for Defendants




                                                17
     Case 6:20-cv-00486-ADA-DTG Document 85 Filed 04/19/21 Page 18 of 18




                               CERTIFICATE OF SERVICE

       The undersigned certifies that on April 19, 2021, all counsel of record who are deemed to

have consented to electronic service are being served with a copy of this document through the

Court’s CM/ECF system under Local Rule CV-5(b)(1).

                                                          /s/ Mark D. Siegmund
                                                          Mark D. Siegmund




                                              18
